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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

MAIDPRO FRANCHISE, LLC                                       :
                                                             :
        Plaintiff,                                           :    Case No. 1:23-cv-9172-VM
                                                             :
                                                             :
v.                                                           :    DEFAULT JUDGMENT
                                                             :
                                                             :
CITY MAID PRO, INC.,                                         :
                                                             :
        Defendant.                                           :
--------------------------------------------------------------X                          7/2/24


        This action having been commenced on October 18, 2023 by the filing of the Summons

and Complaint, and a copy of the Summons and Complaint having been personally served on the

defendant, City Maid Pro, Inc., on October 25, 2023, by personal service on the Sue Zouky, the

managing agent of the New York Secretary of State, and a proof of service having been filed on

October 26, 2023, and the defendant not having answered the Complaint, and the time for

answering the Complaint having expired, it is

        ORDERED, ADJUDGED AND DECREED: That, for the reasons in the Court's Decision

and Order dated June 27, 2024 (see Dkt. No. 16), the plaintiff have judgment against defendant

in the amount of $10,000.00, plus costs and disbursements of this action in the amount of

$619.50, amounting in all to $10,619.50, plus post-judgment interest at the statutory rate; and it

is further

        ORDERED, ADJUDGED AND DECREED: That a permanent injunction is entered

against the defendant, on the terms set forth below:

        1.       Defendant, its agents, servants, affiliates, employees, and attorneys, and all others

                 in active concert or participation with any of them shall not, either directly or

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              indirectly, for themselves, or through, on behalf of, or in conjunction with any

              other person, persons, partnership, or corporation, use or otherwise display any

              MaidPro mark or use the name MaidPro in its domain name

              (www.citymaidpro.com), on its website, or in any manner with the public,

              including but not limited to on Google, Facebook, Instagram, Yelp, Groupon, and

              Nicelocal.

      2.      Defendant, its agents, servants, affiliates, employees, and attorneys, and all others

              in active concert or participation with any of them shall not, either directly or

              indirectly, for themselves, or through, on behalf of, or in conjunction with any

              other person, persons, partnership, or corporation, hold themselves out to the

              public as a present or former MaidPro franchisee.

Dated: New York, New York

      July 2, 2024




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